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                                No. 24-2968


           IN THE UNITED STATES COURT OF APPEALS
                   FOR THE THIRD CIRCUIT


                NOVARTIS PHARMACEUTICALS CORP,

                                            Plaintiff-Appellant,

                                      v.

           SECRETARY UNITED STATES DEPARTMENT OF
              HEALTH AND HUMAN SERVICES, et al.,

                                            Defendants-Appellees.


            On Appeal from the United States District Court
                   for the District of New Jersey


                        BRIEF FOR APPELLEES


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                             INTRODUCTION

      For more than 30 years, Congress has established limits on the

amounts that federal agencies will pay for prescription drugs.

Manufacturers that wish to sell their drugs to the Departments of Defense

and Veterans Affairs, for example, do so subject to statutorily defined

ceiling prices, and both agencies have authority to negotiate prices below

those ceilings. See 38 U.S.C. § 8126(a)-(h). In the Inflation Reduction Act of

2022, Pub. L. No. 117-169, 136 Stat. 1818 (IRA), Congress gave the Secretary

of Health and Human Services (HHS) similar authority to address the

extraordinary and unsustainable increase in the prices that Medicare pays

for drugs that lack generic competition and that account for a

disproportionate share of Medicare’s expenses. 42 U.S.C. §§ 1320f(a),

1320f-1(b), (d), (e). Under the IRA’s Drug Price Negotiation Program, the

Centers for Medicare & Medicaid Services (CMS) can now negotiate the

prices that Medicare will pay for certain high-expenditure drugs. A

manufacturer that disagrees with the program terms or with the price the

government is willing to pay is under no legal obligation to participate in

the program.
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      Plaintiff Novartis Pharmaceuticals challenged the Negotiation

Program as violating the Eighth Amendment’s prohibition on excessive

fines, the Fifth Amendment’s prohibition on takings without just

compensation, and the First Amendment’s prohibition on compelled

speech. The district court correctly concluded that it lacked jurisdiction to

review plaintiff’s Eighth Amendment claim, because the Anti-Injunction

Act prohibits pre-enforcement suits challenging, as relevant here, the

constitutionality of a tax.

      The district court also correctly rejected plaintiff’s takings and

compelled speech claims on the merits. The Negotiation Program does not

give rise to a physical taking because it neither physically takes plaintiff’s

drugs nor mandates their sale. The government is instead offering to

purchase drugs on terms that plaintiff is under no legal obligation to

accept. Plaintiff retains the option not to sell its drugs on these terms; if it

does so anyway because the alternative is less profitable, it cannot

plausibly complain that a taking has occurred.

      The Negotiation Program is also consistent with the First

Amendment and does not compel plaintiff’s speech. Plaintiff objects that

any manufacturer that participates in the program must sign an agreement
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to negotiate and, if negotiations prove successful, an agreement to honor

the negotiated price. These agreements are not compelled, and they are not

speech; they are commercial contracts governing the negotiation process

and the parties’ associated conduct.

                       STATEMENT OF JURISDICTION

      Plaintiff invoked the district court’s jurisdiction pursuant to 28 U.S.C.

§§ 1331, 1346. JA41 (Complaint). The district court’s jurisdiction over

plaintiff’s Eighth Amendment claim is contested. See infra pp. 21-34. On

October 18, 2024, the district court granted the government’s motion for

summary judgment and entered a final judgment in the government’s

favor. JA10-11. Plaintiff filed a timely notice of appeal on October 21, 2024.

JA12-13; see Fed. R. App. P. 4(a)(1)(B). This Court has jurisdiction pursuant

to 28 U.S.C. § 1291.

                        STATEMENT OF THE ISSUES

      1. Whether the district court correctly held that it lacks jurisdiction

over plaintiff’s claim that the IRA’s excise tax violates the Eighth

Amendment’s prohibition on excessive fines.




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      2. Whether the district court correctly rejected plaintiff’s claim that

the Negotiation Program effects a physical taking of its drugs by setting the

terms of Medicare’s offer to pay.

      3. Whether the district court correctly rejected plaintiff’s compelled

speech claim because the Negotiation Program involves no compulsion

and because the challenged provisions regulate conduct rather than speech.

                       STATEMENT OF THE CASE

      A.    Medicare and the Escalating Cost of Prescription
            Drug Coverage

      Medicare provides federally funded health coverage for individuals

who are 65 or older or who have certain disabilities. 42 U.S.C. § 1395 et seq.

CMS administers Medicare on behalf of the HHS Secretary.

      Medicare is divided into “Parts” that set forth the terms by which

Medicare will pay for specific benefits. See Northeast Hosp. Corp. v. Sebelius,

657 F.3d 1, 2 (D.C. Cir. 2011). Medicare Part B covers outpatient care as

well as the cost of drugs administered as part of that care. Cares Cmty.

Health v. HHS, 944 F.3d 950, 953 (D.C. Cir. 2019). Medicare Part D, which

Congress added in 2003, provides “a voluntary prescription drug benefit

program that subsidizes the cost of prescription drugs and prescription


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drug insurance premiums for Medicare enrollees.” United States ex rel. Spay

v. CVS Caremark Corp., 875 F.3d 746, 749 (3d Cir. 2017); see 42 U.S.C.

§ 1395w-101 et seq. In enacting Part D, Congress initially barred CMS from

negotiating prices for drugs covered under Part D or otherwise interfering

in the arrangements between drug manufacturers and insurance plans. 42

U.S.C. § 1395w-111(i). But, over time, that model led to skyrocketing drug

prices that saddled beneficiaries with unaffordable copays and threatened

the long-term solvency of the program.

      The cost to the federal government of providing prescription drug

coverage under Medicare Part B and Part D is immense. In 2021 alone, the

federal government spent more than $250 billion on drugs covered by these

programs. See KFF, 10 Prescription Drugs Accounted for $48 Billion in

Medicare Part D Spending in 2021, or More Than One-Fifth of Part D Spending

That Year (July 12, 2023), https://perma.cc/4CYL-KYRM. That figure has

risen dramatically over the last decade and is “projected to continue rising

during the coming decade, placing increasing fiscal pressure[]” on the

federal budget. Office of the Assistant Sec’y for Planning & Evaluation,

HHS, Report to Congress: Prescription Drug Pricing 8 (May 20, 2020),

https://perma.cc/5GEN-LZ7F (2020 HHS Report to Congress). Medicare
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Part D spending in particular “is projected to increase faster than any other

category of health spending.” S. Rep. No. 116-120, at 4 (2019).

      In addition to its effects on the federal treasury, the high cost of

prescription drug coverage directly burdens Medicare beneficiaries by

affecting their premiums and out-of-pocket payments. Because Part B

premiums are automatically set to cover 25% of aggregate Part B spending,

higher total spending on prescription drug coverage results in higher

premiums for individual enrollees. See 2020 HHS Report to Congress 11.

Beneficiaries also pay 20% of their Part B prescription drug costs out of

pocket. Part D premiums are similarly based on a plan’s anticipated costs,

and many Part D plans likewise require beneficiaries to pay additional

cost-sharing amounts.

      A “relatively small number of drugs are responsible for a

disproportionately large share of Medicare costs.” H.R. Rep. No. 116-324,

pt. 2, at 37 (2019). In 2018, “the top ten highest-cost drugs by total

spending accounted for 46 percent of spending in Medicare Part B” and

“18 percent of spending in . . . Part D.” 2020 HHS Report to Congress 7. By

2021, the top 10 drugs by total spending accounted for 22% of spending

under Part D. See Juliette Cubanski & Tricia Neuman, A Small Number of
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Drugs Account for a Large Share of Medicare Part D Spending, KFF (July 12,

2023), https://perma.cc/2PF2-336Z.

      These rising costs are in large part attributable to manufacturers’

considerable latitude in dictating the prices that Medicare pays for the most

expensive drugs. Because drug prices under Medicare Part B and Part D

were closely linked to the price manufacturers charged private buyers, see

42 U.S.C. §§ 1395w-3a(b), 1395w-101 et seq., manufacturers of drugs with no

generic competition could “effectively set[] [their] own Medicare payment

rate[s]” by dictating sales prices in the broader market. Medicare Payment

Advisory Comm’n, Report to the Congress: Medicare and the Health Care

Delivery System 84 (June 2022), https://perma.cc/5X4R-KCHC. Drug

companies’ substantial leeway in this respect was compounded by the

significant legal and practical obstacles to market entry faced by generic

competitors, along with the practice of many manufacturers of protecting

their market share by entering into “settlements” with generic

manufacturers to limit generic marketing. See, e.g., Sarah M. E. Gabriele &

William B. Feldman, The Problem of Limited-Supply Agreements for Medicare

Price Negotiation, 330 JAMA 1223 (2023). As a result of these factors, there

are often “no market forces to apply downward pressure to provide
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lowered prices to the millions who have coverage for such medicines under

Medicare.” H.R. Rep. No. 116-324, pt. 2, at 37-38.

      Other federal agencies, including the Departments of Defense and

Veterans Affairs, operate their drug benefit programs differently and have

not been subject to skyrocketing costs. Pharmaceutical companies that

wish to sell drugs to these agencies have long been required to negotiate

with the government and reach agreements subject to statutorily defined

ceiling prices. See 38 U.S.C. § 8126(a)-(h). Agreement to do so is a

condition of participation in Medicaid, even though these agency programs

are part of a separate statutory framework that operates independently of

Medicaid. 42 U.S.C. § 1396r-8(a)(1). As a result, manufacturers often sell

drugs to the Departments of Defense and Veterans Affairs for roughly half

as much as they charge Medicare Part D. See Cong. Budget Office, A

Comparison of Brand-Name Drug Prices Among Selected Federal Programs 16

(Feb. 2021), https://perma.cc/ YY2E-GM97. “[I]f Medicare had received

the same discounts as the Departments of Defense and Veterans Affairs,

taxpayers would have saved” billions. Staff of H. Comm. on Oversight &

Reform, Drug Pricing Investigation: AbbVie—Humira and Imbruvica 13-15

(May 2021), https://perma.cc/Z2KG-ZKW3.
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      B.     The IRA’s Drug Price Negotiation Program

      In enacting the IRA, Congress empowered the HHS Secretary, acting

through CMS, to negotiate the prices that Medicare pays for certain drugs,

just as the Departments of Defense and Veterans Affairs have done for

decades. See IRA §§ 11001-11003, 136 Stat. at 1833-64 (codified at 42 U.S.C.

§§ 1320f–1320f-7 and 26 U.S.C. § 5000D). The Negotiation Program applies

only to manufacturers that choose to participate in Medicare and Medicaid,

and even then, it governs only the prices that Medicare pays for certain

high-expenditure drugs. 42 U.S.C. § 1320f-1(b), (d). The program altered

the terms of the government’s offer to purchase drugs for Medicare; it does

not apply to the prices paid by other buyers of those drugs.

      By statute, the only drugs eligible for selection in the Negotiation

Program are “qualifying single source drug[s]”—i.e., those that have no

generic or biosimilar competitors and that have been on the market for at

least seven years (for drugs) and 11 years (for biologics). 42 U.S.C. § 1320f-

1(e). The IRA directs the agency to rank the resulting set of drugs

according to total Medicare expenditures and select the top 10 drugs on the

list for the first negotiation cycle. Id. § 1320f-1(a)(1).



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      After selecting the negotiation-eligible drugs with the highest

aggregate Medicare expenditures, CMS signs agreements with

manufacturers willing to engage in the negotiation process. 42 U.S.C.

§ 1320f-2. The goal is to reach agreement on what the statute refers to as

the “maximum fair price” that Medicare will pay for each selected drug.

Id. § 1320f-3. To guide the negotiation process, Congress imposed a

“[c]eiling for [the] maximum fair price,” which is based on specified

pricing data for each drug, id. § 1320f-3(c), and it directed the agency to

“aim[] to achieve the lowest maximum fair price” that the manufacturer

will accept, id. § 1320f-3(b)(1). If negotiations are successful, the

manufacturer signs an addendum to the negotiation agreement

establishing the maximum price at which the drug will be made available

to Medicare beneficiaries. Id. § 1320f-3. For drugs selected for the first

negotiation cycle, any negotiated prices will take effect for Part D on

January 1, 2026. Id. § 1320f(b)(1), (2). For Medicare Part B, any negotiated

prices will take effect in 2028. See id. § 1320f-1(a)(3).

      A drug manufacturer that does not wish to participate in the

Negotiation Program has several options. Because participation in

Medicare is voluntary, any manufacturer may withdraw from Medicare
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and Medicaid (with 30 days’ notice to CMS) and thus not be subject to any

of the Negotiation Program’s requirements. 26 U.S.C. § 5000D(c)(1); see also

JA383-84 (CMS, Medicare Drug Price Negotiation Program: Revised Guidance,

Implementation of Sections 1191 – 1198 of the Social Security Act for Initial Price

Applicability Year 2026, at 120-21 (June 30, 2023), https://perma.cc/K6QB-

C3MM (Revised Guidance)). Alternatively, a manufacturer may transfer

its ownership of the selected drug to another entity and continue to sell

other drugs to Medicare. See JA394-95 (Revised Guidance 131-32). A

manufacturer that pursues neither of these options may continue to sell the

selected drug to Medicare beneficiaries at non-negotiated prices subject to

an excise tax. See 26 U.S.C. § 5000D(a)-(h); see also JA501-05 (Internal

Revenue Service Notice 2023-52, 2023-35 I.R.B. 650 (Aug. 4, 2023),

https://perma.cc/B9JZ-ZG7P (IRS Notice)).

      C.    The Negotiation Program’s Implementation

      Congress instructed the agency to implement the Negotiation

Program through “program instruction or other forms of program

guidance” for the first few negotiation cycles. IRA § 11001(c), 136 Stat. at

1854. In March 2023, CMS issued initial guidance explaining how it

planned to implement certain aspects of the statute and soliciting public

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comment. See CMS, Medicare Drug Price Negotiation Program: Initial

Memorandum, Implementation of Sections 1191 – 1198 of the Social Security Act

for Initial Price Applicability Year 2026, and Solicitation of Comments (Mar. 15,

2023), https://perma.cc/8X4K-CVD8. In June 2023, after considering

thousands of comments, CMS published Revised Guidance that explains,

among other things, how CMS determines which drugs may be selected for

negotiation, and how the negotiation process works. See JA354-55 (Revised

Guidance 91-92). It also sets out procedures for manufacturers to follow if

they decide not to negotiate. JA381-83, 392-94 (Revised Guidance 118-20,

129-31). Specifically, it explains that a manufacturer can opt out of the

Negotiation Program by notifying CMS of its decision to withdraw from

Medicare and Medicaid. Infra pp. 55-56 (explaining that the withdrawal

will become effective within 30 days of the notice).

      Treasury and the Internal Revenue Service (IRS) have issued notices

and rules outlining their interpretation of the Negotiation Program’s

excise-tax provision. See JA501-05 (IRS Notice). As the IRS explained, the

tax will be imposed only on the manufacturer’s “sales of designated drugs

dispensed, furnished, or administered to individuals under the terms of

Medicare,” not on drugs dispensed, furnished, or administered outside
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Medicare. JA503 (IRS Notice 3). In January 2025, the IRS published a

notice of proposed rulemaking consistent with the 2023 Notice’s

substantive interpretations of the tax. Excise Tax on Designated Drugs, 90

Fed. Reg. 31 (Jan. 2, 2025).

      In August 2023, CMS published the list of drugs selected for the first

negotiation cycle. See Press Release, HHS, HHS Selects the First Drugs for

Medicare Drug Price Negotiation (Aug. 29, 2023), https://perma.cc/A36P-

Z88Z. The 10 drugs selected accounted for more than $50 billion of gross

Medicare Part D spending between June 2022 and May 2023, and Medicare

beneficiaries paid a total of $3.4 billion in out-of-pocket costs for those

drugs in 2022 alone. See CMS, Medicare Drug Price Negotiation Program:

Selected Drugs for Initial Price Applicability Year 2026 (Aug. 2023),

https://perma.cc/X37F-RC94. Plaintiff’s drug Entresto was among the

drugs selected for negotiation, and plaintiff executed an agreement to

negotiate Entresto’s price with CMS. See CMS, Medicare Drug Price

Negotiation Program: Manufacturer Agreements for Selected Drugs for Initial

Price Applicability Year 2026 (Oct. 3, 2023), https://perma.cc/3222-VPEE.

      Over the spring and summer of 2024, CMS engaged in robust

negotiations with the manufacturers of each of the drugs selected for the
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first negotiation cycle. In accordance with the schedule established by

Congress, CMS presented plaintiff and the other manufacturers of selected

drugs with initial offers by February 1, 2024. See CMS, Medicare Drug Price

Negotiation Program: Negotiated Prices for Initial Price Applicability Year 2026

(Aug. 15, 2024), https://perma.cc/6MVG-BZP8. Each participating

manufacturer responded with a counteroffer by March 2, 2024. Id. CMS

subsequently held three negotiation meetings with each company to

discuss the offers and relevant evidence. Id. Many companies proposed

revised counteroffers during these meetings, and CMS accepted four of

these revised counteroffers outright. Id. By August 1, 2024, CMS and the

participating manufacturers had agreed to a negotiated price for each of

the 10 selected drugs. Id. Assuming that none of the 10 manufacturers

withdraws from Medicare and Medicaid by December 2025, these prices

will take effect on January 1, 2026. 42 U.S.C. §§ 1320f(b), (d), 1320f-2(a),

1320f-3(b).

      D.      Prior Proceedings

      Plaintiff filed this action in September 2023, JA32, challenging the

IRA under the Excessive Fines Clause of the Eighth Amendment, the



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Takings Clause of the Fifth Amendment, and the compelled speech

doctrine of the First Amendment.

      1. The district court dismissed plaintiff’s Eighth Amendment

challenge to the IRA’s excise-tax provision for lack of jurisdiction under the

Anti-Injunction Act, which provides that “no suit for the purpose of

restraining the assessment or collection of any tax shall be maintained in

any court by any person.” 26 U.S.C. § 7421(a). Because plaintiff sought a

declaration that the tax violated the Eighth Amendment and therefore

could not be assessed, the court held that the claim fell squarely within

scope of this statutory bar. The court also determined that a narrow

exception for cases involving irreparable injury and a “certainty of success

on the merits” did not apply. JA7-8 (quoting Bob Jones Univ. v. Simon, 416

U.S. 725, 737 (1974)). The court explained that plaintiff’s alleged injury was

not irreparable because the availability of a refund suit would adequately

protect plaintiff’s interests. JA8-9. And plaintiff fell well short of

establishing a certainty of success on the claim given that no case “has ever

held that a tax—lacking any connection to criminal conduct—was a fine for

Excessive Fines Clause purposes.” JA9.



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      2. The district court then rejected plaintiff’s Fifth and First

Amendment claims on the merits, relying largely on its analysis of

materially identical claims in Bristol Myers Squibb Co. v. Becerra, Nos. 23-

3335, 23-3818, 2024 WL 1855054 (D.N.J. Apr. 29, 2024); and Novo Nordisk

Inc. v. Becerra, No. 23-20814, 2024 WL 3594413 (D.N.J. July 31, 2024). With

respect to the claim alleging a physical taking of plaintiff’s drugs, the court

emphasized that participation in the Negotiation Program is voluntary,

such that plaintiff is under no requirement to provide drugs under the

terms offered by the government. JA5. The district court also held that the

Negotiation Program did not violate the First Amendment because “the

Program regulates commercial conduct, not speech,” JA6 and “[a]ny

‘speech’ aspects of the Program, such as the agreements and negotiations,

are merely incidental mechanisms used during” the process for reaching a

negotiated price, JA6 (quoting Novo Nordisk, 2024 WL 3594413, at *5).

      3. Other drug manufacturers and interest groups have filed related

suits challenging the constitutionality and implementation of the

Negotiation Program. To date, district courts in four other cases have

considered such claims on the merits, and all have rejected them. Novo

Nordisk, No. 23-20814, 2024 WL 3594413 (D.N.J. July 31, 2024), appeal
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pending, No. 24-2510 (3d. Cir.); Boehringer Ingelheim Pharm., Inc. v. HHS, No.

23-1103, 2024 WL 3292657 (D. Conn. July 3, 2024), appeal pending, No. 24-

2092 (2d Cir. Aug. 8, 2024); Bristol Myers Squibb, Nos. 23-3335, 23-3818

(D.N.J. Apr. 29, 2024), argued, Nos. 24-1820, 24-1821 (3d Cir. Oct. 30, 2024);

AstraZeneca Pharm. LP v. Becerra, 719 F. Supp. 3d 377 (D. Del. 2024), argued,

No. 24-1819 (3d Cir. Oct. 30, 2024); see also Dayton Area Chamber of Commerce

v. Becerra, No. 23-156, 2024 WL 3741510 (S.D. Ohio Aug. 8, 2024), appeal

pending, No. 24-3868 (6th Cir. Oct. 8, 2024). Three district court cases

raising related issues remain pending. Merck & Co. v. Becerra, No. 23-1615

(D.D.C. filed June 6, 2023); National Infusion Ctr. Ass’n v. Becerra, No. 23-707

(W.D. Tex. filed June 21, 2023); Teva Pharm. V. HHS, No. 25-113 (D.D.C.

filed January 15, 2025).

                       SUMMARY OF ARGUMENT

      I. The district court correctly dismissed plaintiff’s Eighth

Amendment claim against the Negotiation Program’s excise tax for lack of

jurisdiction. Pre-enforcement challenges to the constitutionality of a tax are

barred by the Anti-Injunction Act, which prohibits any “suit for the

purpose of restraining the assessment or collection of any tax,” 26 U.S.C.

§ 7421(a), and by the tax exception to the Declaratory Judgment Act, which

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prohibits issuance of declaratory judgments “with respect to Federal

taxes,” 28 U.S.C. § 2201(a). Because plaintiff’s suit seeks to preclude

implementation or enforcement of the excise tax, this claim must be

dismissed for lack of subject matter jurisdiction.

      Plaintiff’s excise-tax claim also fails for lack of standing. A plaintiff

lacks Article III standing to seek declaratory or injunctive relief if it fails to

sue the entities responsible for its purported injuries. Haaland v. Brackeen,

599 U.S. 255, 292-93 (2023). Plaintiff’s alleged injury arises from a tax

assessed and collected by the IRS. But HHS and CMS are the only

defendants in this action, and no judgment issued against these agencies

could redress plaintiff’s excise-tax injury. Although plaintiff argues that it

is injured by CMS’s “use of the specter” of the excise tax to negotiate for

lower drug prices, Br. 24, plaintiff has not identified any actions

undertaken by CMS in this respect. Any pressure related to the potential

for tax liability comes from the operation of the excise tax itself,

independent of any action or inaction from CMS. Only a judgment against

Treasury or the IRS—neither of which is a party to this suit—could redress

any injury arising from these alleged effects of the tax.



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      II. The Negotiation Program does not effect a physical taking of

plaintiff’s drugs, which is the only type of taking plaintiff alleges. To

establish a physical takings claim, a plaintiff must show that the

government has physically appropriated or otherwise legally compelled

the transfer of private property. Although plaintiff asserts that the

Negotiation Program “force[s]” it to sell drugs at below-market prices, Br.

35, it acknowledges that as a legal matter it retains the option not to sell its

drug to Medicare under the terms established by the IRA.

      Plaintiff contends instead that the opportunity to participate in

Medicare is so profitable as to leave it with no practical choice but to accept

the terms of participation. For decades, however, the courts of appeals

have uniformly rejected the argument that the economic pressures to

participate in Medicare and Medicaid can support a takings claim. This

consistent precedent reflects a straightforward principle: When a company

is not legally compelled to sell products or services on the offered terms—

but chooses to do so anyway because the alternative is less profitable—no

“taking” has occurred.

      III. The Negotiation Program does not compel any speech.

Participation in the Negotiation Program, like participation in Medicare
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generally, is voluntary, and plaintiff is thus not “compelled” to do or say

anything. Moreover, contrary to plaintiff’s assertions, the challenged

agreements to negotiate and to honor any agreed upon prices do not

require a manufacturer to adopt any government message or to express

any views at all. They are purely commercial arrangements that pertain

solely to the negotiation of prices, and they use statutorily defined

language to ensure a consistent and precise understanding of the

agreements’ terms. Plaintiff’s unsubstantiated fears about how some

members of the public might perceive those agreements do not justify

abrogating decades of First Amendment case law in favor of a new—and

limitless—presumption of First Amendment expression in every

commercial act.

                         STANDARD OF REVIEW

      This Court “review[s] the grant or denial of summary judgment de

novo.” Canada v. Samuel Grossi & Sons, Inc., 49 F.4th 340, 345 (3d Cir. 2022)

(quotation marks omitted).




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                                ARGUMENT

I.    The Court lacks jurisdiction over plaintiff’s Eighth Amendment
      challenge to the excise tax, which is in any event meritless.

      A.    Plaintiff’s challenge to the IRA’s excise-tax provision is
            barred by the Anti-Injunction Act and the tax exception
            to the Declaratory Judgment Act.

      1. The Anti-Injunction Act provides that, with certain enumerated

exceptions, “no suit for the purpose of restraining the assessment or

collection of any tax shall be maintained in any court by any person.” 26

U.S.C. § 7421(a). Courts have long held that pre-enforcement challenges to

the constitutionality of a tax fall squarely within the scope of this statutory

bar. See Alexander v. “Americans United” Inc., 416 U.S. 752, 759-60 (1974)

(collecting cases).

      This blanket prohibition against pre-enforcement challenges “also

extends to declaratory judgments.” Bob Jones Univ. v. Simon, 416 U.S. 725,

732 n.7 (1974). As “there is ‘little practical difference’ between an

injunction and anticipatory relief in the form of a declaratory judgment”

against a taxing provision, Jefferson County v. Acker, 527 U.S. 423, 433 (1999),

the Declaratory Judgment Act excludes cases “with respect to Federal

taxes,” 28 U.S.C. 2201(a). See also S. Rep. No. 74-1240, at 11 (1935)

(explaining that this tax exception prevents requests for declaratory relief
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from circumventing the “long-continued policy of Congress” against

anticipatory tax suits). There is “no dispute . . . that the federal tax

exception to the Declaratory Judgment Act is at least as broad as the Anti-

Injunction Act.” Bob Jones, 416 U.S. at 732 n.7.

      2. A claim is barred by the Anti-Injunction Act—and therefore by the

tax exception to the Declaratory Judgment Act—if (a) the exaction at issue

is a “tax” within the meaning of these statutes, and (b) the purpose of the

claim is to “restrain[] the assessment or collection” of that tax. 26 U.S.C.

§ 7421(a). Because both conditions are met, the district court correctly

dismissed plaintiff’s excise-tax claim for lack of jurisdiction.

      a. In determining whether a payment qualifies as a “tax” for these

purposes, courts place particular weight on the language Congress used to

describe the exaction at issue. That is because the challenged statute and

the “Anti-Injunction Act . . . are creatures of Congress’s own creation”—

thus, “[h]ow they relate to each other is up to Congress.” National Fed’n of

Indep. Bus. v. Sebelius (NFIB), 567 U.S. 519, 544 (2012). As “the best evidence

of Congress’s intent is the statutory text,” id., Congress’s decision to call

something a tax—or not—is all but conclusive.



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      The Supreme Court’s decision in NFIB illustrates this reasoning. In

reviewing the constitutionality of the Affordable Care Act’s individual

mandate, the Court considered whether the Anti-Injunction Act barred a

suit that challenged the payment levied on those without health insurance.

The Court concluded that it did not: The Affordable Care Act “describe[d]

the payment as a ‘penalty,’ not a ‘tax,’” and “that label [was] fatal to the

application of the Anti-Injunction Act.” NFIB, 567 U.S. at 564.

      The NFIB Court explained that this dispositive reliance on

“Congress’s choice of label on th[e] question” was grounded in

longstanding precedent. 567 U.S. at 564. For over a century, the Court has

consistently deferred to congressional labels in determining whether the

Anti-Injunction Act applies—even when it ultimately disagreed with the

label. For instance, in Bailey v. George, 259 U.S. 16, 20 (1922), the Court held

that the Act barred a claim challenging a “tax” intended to discourage the

use of child labor. But on the same day, the Court also held that this “so-

called” child labor tax was, constitutionally speaking, not a tax. Child Labor

Tax Case, 259 U.S. 20, 38 (1922). The Court has “thus applied the Anti–

Injunction Act to statutorily described ‘taxes’ even where that label was

inaccurate.” NFIB, 567 U.S. at 544. This result follows from the Court’s
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committed deference to the congressional label in this context: “Congress

knew that suits to obstruct taxes had to await payment under the Anti–

Injunction Act; Congress called the child labor tax a tax; Congress

therefore intended the Anti–Injunction Act to apply.” Id. at 564.

      The Court’s reasoning is controlling here, for the statutory text and

structure leave no doubt that Congress considered the excise tax to be a

“tax” and thus subject to the Anti-Injunction Act. The IRA provision

concerning the excise tax is codified in the Tax Code (Title 26 of the U.S.

Code), see 26 U.S.C. § 5000D; the tax is enforced by the IRS; and—most

importantly—Congress describes the exaction as a “tax.” Id. § 5000D(a)

(“There is hereby imposed on the sale by the manufacturer . . . of any

designated drug . . . a tax . . . .”); id. § 5000D(a)(1) (referring to “such tax”);

id. § 5000D(a)(2) (same); id. § 5000D(c) (“Suspension of tax”); id.

§ 5000D(f)(2) (referring to “the tax imposed by this section”).

      b. Because the excise tax is plainly a “tax” for these purposes,

plaintiff’s excise-tax claim is barred by the Anti-Injunction Act and thus by

the tax exception to the Declaratory Judgment Act as long as the purpose of

the claim is to “restrain[] the assessment or collection” of that tax. 26 U.S.C.

§ 7421(a); see supra pp. 21-22. In addressing that question, courts “inquire
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not into a taxpayer’s subjective motive, but into the action’s objective aim.”

CIC Servs., LLC v. IRS, 593 U.S. 209, 217 (2021). That aim is “best assessed”

by “look[ing] to the face of the taxpayer’s complaint” and, “most

especially, . . . to the relief requested.” Id. at 217-18 (quotation marks

omitted). If the relief requested runs against the tax itself, the suit is

prohibited. Id. at 219.

      Plaintiff’s Eighth Amendment claim is unmistakably directed toward

the excise tax itself. The claim, as stated in the complaint, is that the

“[Negotiation] Program’s excise tax is . . . unconstitutional under the

Excessive Fines Clause of the Eighth Amendment.” JA84. As relief,

plaintiff asks the court to “[d]eclare that the Program’s ‘excise tax’ violates

the Excessive Fines Clause,” JA86, such that it cannot be enforced. The

complaint thus explicitly asks the court to review—and pass judgment

upon—the tax’s constitutionality so as to block its enforcement. See CIC

Servs., 593 U.S. at 219 (explaining that a lawsuit that “target[s]” a tax is

subject to the Anti-Injunction Act). For these reasons, plaintiff’s Eighth

Amendment claim cannot proceed.

      3. Plaintiff errs in contending (Br. 23-26) that the Anti-Injunction Act

is inapplicable here because, in its view, the excise tax is designed not to
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generate revenue but to incentivize conduct. This argument is foreclosed

by decades of Supreme Court precedent making clear that the Anti-

Injunction Act “draws no distinction between regulatory and revenue-

raising tax rules.” CIC Servs., 593 U.S. at 225. Contrary to plaintiff’s

suggestion, the Act applies as long as “the dispute is about a tax rule,” and

“[t]hat is just as true when the tax in question is a so-called regulatory

tax—that is, a tax designed mainly to influence private conduct, rather than

to raise revenue.” Id. at 224-25 (citing Bob Jones, 416 U.S. 725; Americans

United, 416 U.S. 752; Bailey, 259 U.S. 16).

      Plaintiff nonetheless relies on this distinction in asserting that the

Anti-Injunction Act does not bar claims challenging the role that a

regulatory tax plays in shaping conduct. In particular, plaintiff argues that

it has not brought a claim to “restrain[] the assessment or collection of any

tax,” 26 U.S.C. § 7421(a), but rather a claim to “prevent the government

from using the tax to” “coerce” plaintiff’s participation in the Negotiation

Program. Br. 25. This characterization is squarely at odds with the

complaint, which candidly acknowledges that a challenge to the

constitutionality of the tax itself is at the very core of the claim. See supra p.

25. In any event, “[t]he Supreme Court has consistently ruled . . . that
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plaintiffs cannot evade the Anti-Injunction Act by purporting to challenge

only the regulatory aspect”—that is, the deterrent or incentivizing effect—

of a regulatory tax, as plaintiff seeks to do. Florida Bankers Ass’n v. U.S.

Dep’t of Treasury, 799 F.3d 1065, 1070 (D.C. Cir. 2015) (Kavanaugh, J.).

      Plaintiff’s argument in this respect mirrors one the Supreme Court

rejected in Bob Jones, which concerned an IRS notice announcing that a

university’s tax-exempt status would be revoked unless it abandoned its

racially discriminatory policies. The university contended that the Anti-

Injunction Act did not bar its lawsuit because the challenged actions did

“not represent an effort to protect the revenues but an attempt to regulate

the admissions policies of private universities.” 416 U.S. at 739. In the

university’s view, the IRS’s actions were an “attempt to use the onerous

taxing power of the government to force recalcitrant parties in line,” and

thus “b[ore] no relationship to the federal revenues except to use the threat

of the considerable burdens of taxation to cause a relinquishment of basic

rights.” Brief for the Petitioner, Bob Jones, 416 U.S. 725 (No. 72-1470), 1973

WL 172321, at *28, *33. Because the university understood the case to

“involve[] not revenue but rather unconstitutional compulsion,” id. at *28,



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it urged the Court to hold that the action was not “for the purpose of

restraining the assessment or collection of any tax,” 26 U.S.C. § 7421(a).

      The Supreme Court squarely rejected that argument. Bob Jones, 416

U.S. at 738-42; see also id. at 741 n.12 (repudiating “such distinctions”

“between regulatory and revenue-raising taxes”). In concluding that the

Anti-Injunction Act barred the suit, “the Court made clear that the

plaintiff[’s] reasons for suing did not matter”—it was simply “irrelevant

that Bob Jones University objected to the IRS’s ‘attempt to regulate the

admissions policies of private universities.’” CIC Servs., 593 U.S. at 225.

“Nor did it matter that the [challenged] tax ruling was in truth an effort to

change those [discriminatory] policies.” Id. What mattered is that the

“suit[] sought to prevent the levying of taxes, and so could not go

forward.” Id.

      Plaintiff relies on the same argument that the Court rejected in Bob

Jones. Like the university, plaintiff insists that “the object of [its] lawsuit is

to prevent the government from using the tax to unlawfully coerce

participation,” not to prevent the collection of taxes. Br. 25. And plaintiff

similarly argues that the IRA’s excise tax is not about revenues at all, but

about using the threat of taxation to coerce participation. Br. 24. But Bob
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Jones makes clear that the Anti-Injunction Act bars such a suit regardless of

whether the claim is styled as an attack on the tax or on the “specter” of its

imposition, Br. 24.

      4. There is likewise no merit to plaintiff’s contention that its claim

should be allowed to proceed because it is subject to the narrow exception

acknowledged in Enochs v. Williams Packing & Navigation Co., 370 U.S. 1

(1962). A taxpayer’s “burden under Williams Packing is very substantial.”

Flynn v. United States ex rel. Eggers, 786 F.2d 586, 591 (3d Cir. 1986). Under

this limited exception, claims seeking to restrain the assessment of taxes

may proceed only if two conditions are satisfied: (1) the plaintiff will suffer

irreparable injury, Bob Jones, 416 U.S. at 737; and (2) it is “clear that under

no circumstances could the Government ultimately prevail,” even “under

the most liberal view of the law and the facts,” Willams Packing, 370 U.S. at

7. “Unless both conditions are met, a suit for preventive injunctive relief

must be dismissed.” Bob Jones, 416 U.S. at 758. As the district court

explained, plaintiff’s argument fails on both counts.

      First, because a refund suit is an adequate remedy, plaintiff cannot

establish that it will suffer irreparable harm absent preemptive injunctive

relief. “This is not a case in which an aggrieved [taxpayer] has no access at
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all to judicial review.” Bob Jones, 416 U.S. at 746. A manufacturer that

wishes to challenge the excise tax could pay it, seek a refund from the IRS,

then sue for a refund in district court or the Court of Federal Claims. See 26

U.S.C. § 7422; 28 U.S.C. §§ 1346(a)(1), 1491. And a taxpayer need only pay

“the excise tax on a single transaction” before challenging the tax in court.

Rocovich v. United States, 933 F.2d 991, 995 (Fed. Cir. 1991); see also Flora v.

United States, 362 U.S. 145, 171–75 nn.37-38 (1960). While such a suit is

pending, the IRS generally does not collect the remainder of the excise tax

that would otherwise be due. IRS, Internal Revenue Manual § 1.2.1.6.4(6),

2007 WL 9790655.

      Second, plaintiff has fallen well short of establishing a “certainty of

success on the merits,” Bob Jones, 416 U.S. at 737. As the district observed,

“Plaintiff has not identified a case that has ever held that a tax—lacking

any connection to criminal conduct—was a fine for Excessive Fines Clause

purposes.” JA9. Plaintiff’s claim in this context is thus a “novel” one, and

on these grounds alone far from certain to succeed. JA9 (citing Boehringer

Ingelheim Pharm., Inc. v. HHS, No. 23-1103, 2024 WL 3292657, at *23 (D.

Conn. July 3, 2024)). See infra pp. 34-37 (explaining that plaintiff’s Eighth

Amendment claim fails on the merits).
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      B.     Plaintiff’s Eighth Amendment claim is not redressable.

      Plaintiff’s Eighth Amendment claim would fail for lack of standing

were it not otherwise barred. To show Article III standing, a plaintiff must

establish that it has “suffered an injury in fact . . . that is likely to be

redressed by a favorable judicial decision.” Spokeo, Inc. v. Robins, 578 U.S.

330, 338 (2016). Redressability must be established “for each claim that

[plaintiff] press[es] and for each form of relief that [it] seek[s].” TransUnion

LLC v. Ramirez, 594 U.S. 413, 431 (2021).

      As the Supreme Court recently reaffirmed in Haaland v. Brackeen, 599

U.S. 255, 291-96 (2023), a plaintiff lacks standing to seek declaratory or

injunctive relief if it fails to sue the entities responsible for its injuries.

Haaland concerned a dispute over the constitutionality of a federal law

requiring that Native American children in adoption proceedings be

preferentially placed with Native families over non-Native families.

Certain plaintiffs sought a declaration that these placement preferences

were unconstitutional and an injunction preventing their application. The

Court held that this claim failed for lack of standing because the entities

that implement the statute’s placement preferences—state courts and

agencies—were not parties to the lawsuit. Id. at 292-94. Neither an

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injunction nor a declaratory judgment would bind the non-party state

officials so as to prevent them from applying the placement preferences.

Id. And a declaratory judgment against the defendants would thus amount

to “little more than an advisory opinion.” Id. at 293.

      Plaintiff has similarly failed to sue the entities responsible for the

alleged harm. Plaintiff’s alleged injury arises from a tax that is assessed

and collected by the IRS, which is not a party to the lawsuit. The IRA’s tax

provisions are codified in the Internal Revenue Code, 26 U.S.C. § 5000D,

and the Treasury, of which the IRS is a part, is charged with enforcing

section 5000D and interpreting its provisions. See id. § 5000D(h) (“The

Secretary shall prescribe such regulations and other guidance . . . .”); see

also id. § 7701(a)(11)(B) (“When used in this title, . . . [unless otherwise

stated], [t]he term ‘Secretary’ means the Secretary of the Treasury or his

delegate.”). Under this authority, the IRS has published notices and

regulations implementing the section 5000D tax: In August 2023, the IRS

issued a notice announcing its intent to issue regulations implementing the

section 5000D tax and providing taxpayers interim guidance on substantive

and procedural issues. JA501-05 (IRS Notice). In July 2024, after notice and

comment, the IRS published a final rule establishing relevant procedural
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requirements. Excise Tax on Designated Drugs; Procedural Requirements,

89 Fed. Reg. 55,507 (July 5, 2024) (codified at 26 C.F.R. pts. 40, 47). Most

recently, in January 2025, the IRS published a notice of proposed

rulemaking consistent with its substantive interpretations of the tax as

described in the 2023 Notice. Excise Tax on Designated Drugs, 90 Fed. Reg.

31.

      Treasury and the IRS are thus the only entities responsible for

enforcing the excise-tax provisions, but plaintiff has sued neither. The

Court cannot enter judgment against these agencies because they are “not

parties to the suit,” and they would not be “obliged to honor an incidental

legal determination the suit produced.” Lujan v. Defenders of Wildlife, 504

U.S. 555, 569 (1992) (plurality opinion); see also id. at 570-71 (“The short of

the matter is that redress of the only injury in fact respondents complain of

requires action . . . by the individual funding agencies; and any relief the

District Court could have provided in this suit against the Secretary was

not likely to produce that action.” (emphasis added)).

      Any injunctive or declaratory judgments issued against HHS and

CMS, the only defendants in this action, would not redress plaintiff’s

excise-tax injury. In arguing otherwise, plaintiff contends that an
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injunction would stop CMS from “improperly leveraging” the tax in price

negotiations. Pl. Mot. for Summ. J. Reply, Dkt. No. 57, at 53-54; see Br. 24

(contesting CMS’s alleged “use of the specter” of the excise tax). But any

pressure plaintiff faces in this respect comes from the excise tax itself, not

from anything CMS does or refrains from doing. If plaintiff chooses to sell

the selected drug to Medicare beneficiaries at non-negotiated prices,

plaintiff will incur tax liability, and the IRS can collect on that tax

regardless of anything CMS does.1

      C.    Even if the Court had jurisdiction, plaintiff’s Eighth
            Amendment claim would fail on the merits.

      Plaintiff’s excessive fines claim lacks merit because the excise tax is

not a “fine” that implicates the Excessive Fines Clause, nor is it “excessive.”

These deficiencies provide additional grounds for dismissal but would

properly be addressed by the district court in the first instance.




      1 In district court, Plaintiff incorrectly stated that “CMS has explained

[that] the excise tax is triggered only when manufacturers are ‘referred to
IRS’ for their failure to sign an agreement” or to reach agreement on a
negotiated price. Pl. Mot. for Summ. J. Reply, Dkt. No. 57, at 52. No such
referral is necessary for liability to attach, and CMS has never said
otherwise.
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      1. The Eighth Amendment provides that “[e]xcessive bail shall not be

required, nor excessive fines imposed, nor cruel and unusual punishments

inflicted.” U.S. Const. amend. VIII. “Taken together, these Clauses place

parallel limitations on the power of those entrusted with the criminal-law

function of government.” Timbs v. Indiana, 586 U.S. 146, 151 (2019)

(quotation marks omitted). The Excessive Fines Clause accordingly “limits

the government’s power to extract payments . . . as punishment for some

offense.” Id. Although the form of proceeding, “civil or criminal,” is not

entirely dispositive, the question remains whether a particular payment is

“punishment for some offense” against the sovereign. Austin v. United

States, 509 U.S. 602, 610, 622 (1993).

      In keeping with the Eighth Amendment’s focus on excessive

punishment, every Supreme Court case applying the Excessive Fines

Clause has involved a forfeiture ordered as a sanction for criminal conduct

after an adjudication of guilt in a criminal proceeding, see United States v.

Bajakajian, 524 U.S. 321, 325-26 (1998); Alexander v. United States, 509 U.S.

544, 547-548 (1993), or a civil action brought after the property owner had

already been convicted of a crime, seeking forfeiture of property used in

the commission of the crime, see Timbs, 586 U.S. at 148; Austin, 509 U.S. at
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605; see also United States v. Jalaram, Inc., 599 F.3d 347, 354 (4th Cir. 2010)

(“[T]he [Supreme] Court consistently focused on whether the forfeiture

stemmed, at least in part, from the property owner’s criminal culpability.”);

United States v. Toth, 33 F.4th 1, 16 (1st Cir. 2022) (similar), cert. denied, 143 S.

Ct. 552 (2023).

      The excise tax here, by contrast, lacks any connection to criminal

conduct. Liability does not depend on the commission of any crime; it is

instead triggered by the lawful choices of the taxpayer in connection with

drug sales to Medicare. To defendants’ knowledge, neither the Supreme

Court nor any other court has ever held that a tax—let alone one that lacks

any connection to a criminal offense—implicates the Excessive Fines clause.

See JA9. This Court should reject plaintiff’s invitation to break new

ground.

      2. Plaintiff’s claim fails for the independent reason that the excise tax

is not “excessive.” A fine violates the Excessive Fines Clause only “if it is

grossly disproportional to the gravity of a defendant’s offense.” Bajakajian,

524 U.S. at 334, 336. In conducting this inquiry, the Supreme Court has

emphasized that “judgments about the appropriate punishment for an

offense belong in the first instance to the legislature.” Id. at 336. Because
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“Congress is a representative body, its pronouncements regarding the

appropriate range of fines” “represent the collective opinion of the

American people as to what is and is not excessive.” United States v. 817

N.E. 29th Drive, 175 F.3d 1304, 1309 (11th Cir. 1999). There is thus a “strong

presumption” that a fine “within the range of fines prescribed by Congress

. . . is constitutional.” Id. That presumption would apply with even greater

force in the tax context, as “the appropriate level or rate of taxation is

essentially a matter for legislative, and not judicial, resolution.”

Commonwealth Edison Co. v. Montana, 453 U.S. 609, 627 (1981).

      The excise tax bears a close and proportional relationship to the

burdens on the fisc. The tax is imposed only if the manufacturer continues

to sell the selected drug to Medicare at a non-negotiated price and only on

sales of the selected drug that are reimbursed by Medicare. 26 U.S.C.

§ 5000D(b); IRS Notice 3. And the ratio of the tax to the amount charged by

the manufacturer falls between 65% and 95%, see 26 U.S.C. § 5000D(d); IRS

Notice 3-4, which is within the range of constitutional exactions. See, e.g.,

United States v. Alt, 83 F.3d 779, 782-83 (6th Cir. 1996) (81% civil fraud

penalty).



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II.   The Negotiation Program does not effect a physical taking of
      plaintiff’s drugs.

      Courts have long recognized that government actions that adjust

economic relationships, without a physical invasion or appropriation of

property, do not amount to a physical taking under the Fifth Amendment.

Because the IRA’s framework for voluntary drug-price negotiations does

not physically appropriate a manufacturer’s drugs or otherwise compel

their sale, plaintiff cannot demonstrate a physical taking.

      A.    The government effects a physical taking only where
            it appropriates or compels the transfer of property.

      The Fifth Amendment provides that private property shall not “be

taken for public use, without just compensation.” U.S. Const. amend. V. A

“physical appropriation[]” occurs when the government “physically

takes” or authorizes “possession of property.” Cedar Point Nursery v.

Hassid, 594 U.S. 139, 147-48 (2021). The government can also effect a

“regulatory taking[]” by, for example, imposing a regulation so

burdensome that it effectively deprives the owner of the property’s

economic use. See Lingle v. Chevron U.S.A. Inc., 544 U.S. 528, 537 (2005).

Plaintiff here alleges only the first type of taking—a physical appropriation

of its personal property. See Br. 3, 16, 18; see generally Br. 34-43.

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      To establish a physical takings claim, a plaintiff must show that the

government has forcibly appropriated or otherwise compelled the transfer

of private property. The Supreme Court analyzed one such claim in Horne

v. Department of Agriculture, 576 U.S. 350, 364 (2015), which concerned a

requirement that raisin growers “physical[ly] surrender” a percentage of

their raisin crop to the government as a condition of selling raisins on the

open market. The Court held that the requirement constituted a physical

taking because it required the transfer of “[a]ctual raisins” from the

growers to the government, and growers lost “any right to control the[]

disposition” of the raisins as a result. Id. at 361, 364.

      The Supreme Court distinguished this direct, physical appropriation

of personal property from laws that merely restrict the use or limit the

value of such property, and which therefore do not effect a physical taking.

A regulation limiting the production of raisins, for instance, might well

have “the same economic impact” on a farmer as a requirement to

surrender raisins, but it would not be a physical taking. Horne, 576 U.S. at

362. Similarly, a law prohibiting the sale of eagle feathers would not effect

a physical taking because the feather owners “retained the rights to

possess, donate, and devise their property.” Id. at 364 (describing Andrus v.
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Allard, 444 U.S. 51 (1979)). Although the law sapped the feathers of their

commercial value, it neither “‘compel[led] the surrender of the artifacts’”

nor resulted in any “‘physical invasion or restraint upon them,’” unlike the

“physical appropriation” at issue in Horne. Id. (quoting Andrus, 444 U.S. at

65). The Court has thus carefully superintended the “distinction . . .

between appropriation and regulation” for purposes of this analysis. Id. at

432.

       The Supreme Court recently reiterated that a physical appropriation

is an essential element of a physical takings claim in Cedar Point, 594 U.S.

139. The plaintiffs in that case challenged a regulation “grant[ing] union

organizers a right to physically enter and occupy” private farmland for up

to three hours per day, 120 days a year. Id. at 149. In determining whether

the challenged action was a physical taking, the Court explained that the

“essential question” is “whether the government has physically taken

property for itself or someone else.” Id. Because the challenged provision

granted third parties a right to “literally,” “physically invade the growers’

property,” the Court held that this government-authorized physical

occupation amounted to a physical taking. Id. at 152.



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      As these cases confirm, a legal mandate to provide property to the

government or third parties is essential to the establishment of a physical

takings claim. See Lingle, 544 U.S. at 539; Bowles v. Willingham, 321 U.S. 503,

517-18 (1944). By contrast, when an entity “voluntarily participates in a

price-regulated program or activity, there is no legal compulsion to

provide” goods or services, “and thus there can be no taking.” Garelick v.

Sullivan, 987 F.2d 913, 916 (2d Cir. 1993) (citing cases); see Franklin Mem’l

Hosp. v. Harvey, 575 F.3d 121, 129 (1st Cir. 2009).

      Applying these basic principles, the courts of appeals have uniformly

rejected takings challenges to pricing restrictions in Medicare on the

grounds that “participation in the Medicare program is a voluntary

undertaking.” Livingston Care Ctr., Inc. v. United States, 934 F.2d 719, 720

(6th Cir. 1991). Unlike public utilities, which “generally are compelled” by

statute “to employ their property to provide services to the public,”

Garelick, 987 F.2d at 916, no statute or regulation requires entities to sell

their products or services to Medicare. As a result, whether addressing

regulations limiting physician fees, nursing-home payments, or hospital

reimbursements, courts have been unequivocal: Because providers are not

required to offer services to Medicare beneficiaries, the government
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deprives them of no property interest for purposes of the Fifth Amendment

when it limits the amount it will pay for such services. See Southeast Ark.

Hospice, Inc. v. Burwell, 815 F.3d 448, 450 (8th Cir. 2016) (“[Plaintiff]

voluntarily chose to participate in the Medicare hospice program. ‘This

voluntariness forecloses the possibility that the statute could result in an

imposed taking of private property which would give rise to the

constitutional right of just compensation.’” (alteration omitted) (quoting

Minnesota Ass’n of Health Care Facilities v. Minnesota Dep’t of Pub. Welfare,

742 F.2d 442, 446 (8th Cir. 1984))).2




      2 See also Garelick, 987 F.2d at 916; Franklin Mem’l Hosp., 575 F.3d at

129; Burditt v. HHS, 934 F.2d 1362, 1376 (5th Cir. 1991) (rejecting takings
challenge to reimbursement under Medicare because “[o]nly hospitals that
voluntarily participate in the federal government’s Medicare program must
comply”); Baptist Hosp. E. v. HHS, 802 F.2d 860, 869-70 (6th Cir. 1986);
Whitney v. Heckler, 780 F.2d 963, 972 (11th Cir. 1986); St. Francis Hosp. Ctr. v.
Heckler, 714 F.2d 872, 875-76 (7th Cir. 1983) (per curiam); see also Baker Cty.
Med. Servs., Inc. v. U.S. Attorney Gen., 763 F.3d 1274, 1279-80 (11th Cir. 2014)
(rejecting hospital’s “challenge [to] its rate of compensation in a regulated
industry for an obligation it voluntarily undertook . . . when it opted into
Medicare”).
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      B.    The Negotiation Program does not physically
            appropriate or otherwise compel the transfer of
            plaintiff’s property.

      Plaintiff contends that the Negotiation Program effects a taking of

physical doses of Entresto. See Br. 34-35. This claim fails at the outset

because the Negotiation Program does not mandate any physical

appropriation or sales of this property.

      Plaintiff cannot plausibly allege that the Negotiation Program

requires it to physically turn over its drugs to the government or Medicare

beneficiaries. Unlike the Department of Agriculture in Horne, CMS will not

“sen[d] trucks to [plaintiff’s] facility at eight o’clock one morning to” haul

away pills. 576 U.S. at 356. And as the district court observed, this case is

also unlike Horne because there is “no statutory provision” requiring

manufacturers to “set aside, keep, or otherwise reserve any of their drugs

for the government’s use, for the use of Medicare beneficiaries, or any other

entity’s use.” JA5 (quoting Bristol Myers Squibb Co. v. Becerra, Nos. 23-3335,

23-3818, 2024 WL 1855054, at *6 (D.N.J. Apr. 29, 2024)). Here, there is no

physical appropriation to speak of.

      Plaintiff’s takings argument instead rests on a provision directing a

participating manufacture to provide Medicare beneficiaries “access to the

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[negotiated] price” for the selected drug. 42 U.S.C. § 1320f-2(a)(3). But any

suggestion that this provision requires manufacturers to make sales against

their will, see Br. 35, 41, is simply incorrect. First, the Negotiation Program

does not require plaintiff to provide Medicare beneficiaries access to any

drugs at all because sales to Medicare are voluntary. The provision at issue

applies only after a manufacturer (1) voluntarily decides to participate in

the Negotiation Program, and (2) subsequently reaches an agreement with

CMS on a negotiated price.

      Second, even when it does apply, this provision does not require

manufacturers to make any sales of the drug. It merely holds the

manufacturer to the bargain it struck: The requirement to provide “access

to the [negotiated] price,” 42 U.S.C. § 1320f-2(a)(3), means only that a

manufacturer may not charge Medicare more than the price it agreed to.

Under no circumstance is a manufacturer required to provide any party

with physical access to its drugs over its objection. See CMS, Medicare Drug

Price Negotiation Program: Final Guidance, Implementation of Sections 1191 –

1198 of the Social Security Act for Initial Price Applicability Year 2027 and

Manufacturer Effectuation of the Maximum Fair Price in 2026 and 2027, § 90.2,

at 282 (Oct. 2, 2024), https://perma.cc/GV3J-DRKT (“[T]he Primary
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Manufacturer is not obligated to make any sales of the selected drug.”); see

also id. § 40.4, at 195; id. § 100.1, at 295. Plaintiff’s contrary assertion—that

“manufacturers must transfer available units at government-dictated prices

to beneficiaries upon request,” Br. 41—is wrong.

      Plaintiff briefly alludes to a provision requiring insurance

companies—not drug manufacturers—to include all selected drugs with

negotiated prices in the formularies for their Medicare Part D plans. Br. 45

(citing 42 U.S.C. § 1395w-104(b)(3)(I)(i)). This provision does not operate

on drug manufacturers at all, and it certainly does not force them to make

unwanted sales. It states only that insurance companies that have elected

to participate in Medicare Part D shall cover the drugs that manufacturers

agree to sell. Neither this formulary provision nor anything else in the IRA

requires manufacturers to make sales to Medicare in the first instance.3


      3 Plaintiff also indicates that, given its drug distribution operations, it

may in practice be unable to withhold the drug from Medicare beneficiaries
while continuing to sell it to private buyers. Br. 45. But plaintiff does not
and could not argue that these supply-chain constraints are created by the
formulary provision it identifies. Such constraints are attributable not to
any provision in the IRA, but rather to plaintiff’s chosen business model
and its own private contractual arrangements in the domestic drug
distribution system. Plaintiff conspicuously does not state that its practical
options for market segmentation would be different if the formulary
requirement did not exist.
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      Because the Negotiation Program in no way forces manufacturers to

surrender their drugs—to the government or to anyone else—it bears no

resemblance to a classic or “physical” taking. See Loretto v. Teleprompter

Manhattan CATV Corp., 458 U.S. 419, 435 (1982). The Negotiation Program

instead alters the terms on which the government is willing to pay for

certain drugs, and it leaves companies a choice whether to continue doing

business with the government on these terms. If plaintiff is dissatisfied

with the terms of the government’s offer, it can decline to sell its drugs to

Medicare. If it chooses instead to accept the offer, it cannot then complain

that the government has effected a physical taking of its personal property.

      C.    The profitability of Medicare and Medicaid
            participation does not make participation involuntary.

      1. Plaintiff acknowledges that, as a legal matter, it retains the option

not to sell its drug to the government under the terms established by the

IRA. Br. 36. But it contends that the opportunity to participate in Medicare

is so profitable as to leave it with no practical choice but to accept the terms

of participation. See Br. 39. In other words, plaintiff contends that the

government is offering a deal too good for drug companies to refuse. The

courts of appeals have uniformly rejected takings claims based on this


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theory, and this Court should not accept plaintiff’s invitation to break new

ground.

      Although members of the healthcare industry may face significant

economic pressure to participate in Medicare and Medicaid, economic

incentives or other practical “hardship is not equivalent to legal

compulsion for purposes of [a] takings analysis.” Garelick, 987 F.2d at 917.

Even where “business realities” create “strong financial inducement to

participate”—such as, for example, when Medicaid provides the vast

majority of a nursing home’s revenue—courts have emphasized that the

decision to participate in the program “is nonetheless voluntary.”

Minnesota Ass’n, 742 F.2d at 446; see also St. Francis Hosp. Ctr. v. Heckler, 714

F.2d 872, 875 (7th Cir. 1983) (per curiam) (“[T]he fact that practicalities may

in some cases dictate participation does not make participation

involuntary.”); Whitney v. Heckler, 780 F.2d 963, 972 n.12 (11th Cir. 1986)

(same); supra p. 42 n.2 (collecting cases). This widespread recognition that

economic incentives to do business with the government, regardless of

their magnitude, do not raise Takings Clause concerns is unsurprising: The

fundamental question in a takings case is whether the government has

“taken” private property. When a company retains the option not to sell
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products or services on the offered terms—but chooses to anyway because

the alternative is less profitable—no “taking” has occurred.

      Plaintiff observes that the government occupies a significant portion

of the prescription drug market, but that does not change the constitutional

analysis. The government exercises considerable market power across a

range of contexts; indeed, in some circumstances—such as defense

spending—it may be the only market participant. But no court has ever

suggested that the government’s market dominance in the defense sector

raises coercion concerns of constitutional significance, even though a

defense company’s very survival depends on government contracts.

Cf. Perkins v. Lukens Steel Co., 310 U.S. 113, 127-28 (1940) (observing that

“[j]udicial restraint of those who administer the Government’s purchasing

would constitute a break with settled judicial practice and a departure into

fields hitherto” entrusted to other branches of government).

      Just as defense contractors are free to accept or reject the

government’s contractual terms despite the government’s overwhelmingly

dominant market position, so too are pharmaceutical companies that

participate in Medicare and Medicaid, which occupy a far less significant

portion of the prescription drug market. And as the thriving defense
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industry illustrates, manufacturers of important goods retain significant

bargaining power even in markets in which the government is a dominant

purchaser. While the government may try to use its purchasing power to

negotiate better prices on behalf of taxpayers, defense and drug companies

leverage the government’s desire for military technologies or critical

medicines to negotiate favorable terms. That is particularly true here: The

Negotiation Program applies only to drugs without generic or biosimilar

competition, see 42 U.S.C. § 1320f-1(e), so if the government fails to reach an

agreement, Medicare beneficiaries may be left without adequate

alternatives for some of the most widely used drugs on the market. The

government therefore has a strong interest in reaching a deal to ensure

continued access to these essential drugs for Medicare beneficiaries.

      This dynamic builds on a well-established relationship between drug

manufacturers and federal healthcare programs. For decades, the

government has offered to purchase drugs subject to an extensive set of

statutory and regulatory requirements that plaintiff has previously

accepted. For example, as a condition of its participation in Medicaid,

plaintiff has long been required to enter into agreements that give the

Department of Defense, the Department of Veterans Affairs, and the Coast
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Guard the option to purchase drugs at negotiated prices at or below

statutory ceilings. See 38 U.S.C. § 8126(a)-(h). Pursuant to another

condition on Medicaid participation, plaintiff has likewise entered into

agreements to provide drugs to certain healthcare facilities subject to

statutory price ceilings. See Astra USA, Inc. v. Santa Clara County, 563 U.S.

110, 113 (2011) (describing requirements under Section 340B of the Public

Health Services Act). These requirements do not amount to a

constitutional taking; they are simply terms that plaintiff has long chosen

to accept in exchange for the financial opportunities that these programs

confer.

      2. Plaintiff contends that its ability to withdraw from Medicare and

Medicaid (and thus avoid the terms of the Negotiation Program) is no

different from the option of the farmers in Horne to withdraw from the

raisin market (and thus avoid the requirement to turn over raisins to the

government). It therefore concludes that, under Horne, the ability to

withdraw from Medicare and Medicaid is “legally irrelevant.” Br. 36. This

attempted analogy fails.

      The decision in Horne was premised on the fact that (1) the farmers

were legally compelled to transfer the raisins to the government unless
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they stopped selling raisins altogether, and (2) the government was not

offering anything in exchange for the raisins. The Court explained that

“[s]elling produce in interstate commerce” is a “basic and familiar use[] of

property” that people already enjoy, not something the government gave

to the farmers as part of an exchange. Horne, 576 U.S. at 365-66; see also id.

(distinguishing Ruckelshaus v. Monsanto Co., 467 U.S. 986, 1007 (1984), in

which the Court held that an EPA requirement to disclose certain

proprietary information in exchange for a license to sell hazardous

chemicals was not a taking). The farmers’ only options, besides turning

over their raisins, were to sacrifice their preexisting ability to engage in the

ordinary commercial activity of selling produce on the open market, or to

pay a fine equivalent to the fair market value of the raisins that they were

otherwise obligated to turn over.

      An offer from the government to pay for drugs for Medicare

beneficiaries, which plaintiff can take or leave, bears no resemblance to the

demand for raisins in Horne. Here, the government is not demanding

plaintiff’s drugs; it is making an offer of payment that plaintiff can reject or

accept. The government is thus offering something of value to which

plaintiff has no pre-existing right—unlike the raisin farmers’ ability to “sell
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produce in interstate commerce,” which is not a thing of value provided by

the government. And unlike in Horne, plaintiff here may reject the

government’s offer without prejudice to any pre-existing property interest,

including its ability to sell its drugs to other buyers. Drug companies

remain free to sell their products on the vast private market regardless of

their participation in Medicare and Medicaid.

      Plaintiff also errs in describing the excise tax as a penalty akin to the

fine assessed for failure to comply with the raisin requirement in Horne. If

plaintiff chooses not to sell its drugs to Medicare, it will face no excise tax

nor any restriction on its ability to sell drugs to any willing buyer. The

plaintiffs in Horne were not given a similar choice. While the excise-tax

provision gives drug manufacturers that do not wish to participate in the

Negotiation Program an option other than withdrawing from Medicare

and Medicaid—i.e., continuing to sell their drugs to Medicare at non-

negotiated prices and paying an excise tax on those sales, 26 U.S.C.

§ 5000D—they are not limited to that option. A manufacturer may instead

opt out of business with the government by withdrawing from Medicare

and Medicaid, in which case it would not be subject to any excise tax and

would retain its ability to sell its drugs to other buyers. The existence of
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the excise-tax option does not negate plaintiff’s fundamental ability to walk

away from any deal with the government (and pay no excise tax) if it is

dissatisfied with the terms on which the government is willing to do

business. See JA5.

       The same is true for any other alternative, including the possibility

that a manufacturer may divest its interest in the selected drug or end sales

of a selected drug but continue to sell its other drugs to Medicare. Plaintiff

disagrees that these are satisfactory alternatives. See Br. 36-37. But

plaintiff’s satisfaction with these options has no bearing on its ability to

reject the government’s offer in the first place.

III.   The Negotiation Program does not compel plaintiff’s speech.

       If a manufacturer of a selected drug chooses to participate in the

Negotiation Program, the manufacturer will sign an agreement to negotiate

and—if negotiations succeed—an addendum memorializing the negotiated

price. These agreements do not compel speech in violation of the First

Amendment.

       1. Plaintiff’s compelled-speech claim fails at the first hurdle because

the Negotiation Program does not compel drug manufacturers to do

anything, much less engage in protected speech. This Court has made clear

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that “[a] violation of the First Amendment right against compelled speech

occurs ‘only in the context of actual compulsion.’” Miller v. Mitchell, 598

F.3d 139, 152 (3d Cir. 2010) (quoting C.N. v. Ridgewood Bd. of Educ., 430 F.3d

159, 189 (3d Cir. 2005)). Thus, the Supreme Court has found compelled

speech violations when the state forced Jehovah’s Witnesses to pledge

allegiance to the flag, West Virginia State Bd. of Educ. v. Barnette, 319 U.S. 624

(1943), or to display on their cars a slogan repugnant to their faith, Wooley

v. Maynard, 430 U.S. 705 (1977).

      When, by contrast, a drug manufacturer enters into a contractual

agreement associated with participation in Medicare or Medicaid, it does

so voluntarily in light of the anticipated revenue from sales to these federal

programs. For decades, any drug manufacturer that participates in

Medicaid has been required to enter into agreements that give certain

federal agencies the option to purchase drugs at negotiated prices at or

below statutory ceilings. See 38 U.S.C. § 8126(a)-(h); supra pp. 8, 49-50. The

resulting agreements are not compelled speech; they are simply part of the

package deal that manufacturers accept when they choose to sell drugs to

Medicaid. In making that choice, a manufacturer weighs the financial



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upside against the cost of the associated obligations. Any resulting

compliance is a commercial decision, not a government mandate.

      Nothing about this analysis changes when a company’s financial

success depends on securing or renewing government contracts.

Companies choose to seek government contracts, accepting the associated

terms in exchange for payment, and those terms are not “compelled” in

any relevant sense simply because a contractor finds participation

economically desirable. The IRA’s negotiation agreements thus do not

present any threat of compelled speech, even though plaintiff insists that

participation in the program is important for its bottom line. See C.N., 430

F.3d at 189 (rejecting compelled speech claim in the absence of “the

compulsion necessary to establish a First Amendment violation”).

      Although plaintiff’s principal argument is that withdrawal from

Medicare is financially impractical, plaintiff also asserts that it had no

option to withdraw before the deadline for agreeing to negotiate. Br. 53-54.

That is incorrect. Manufacturers of selected drugs may withdraw within 30

days of notice to CMS, and plaintiff could thus have opted out of any

Negotiation Program proceedings before they began. As the Revised

Guidance explains, CMS has statutory authority to terminate any
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manufacturer’s Medicare agreements for “good cause,” see 42 U.S.C.

§§ 1395w-114a(b)(4)(B)(i), 1395w-114c(b)(4)(B)(i), and CMS determined that

a “request for termination to effectuate [a manufacturer’s] decision not to

participate in the Negotiation Program” would constitute good cause.

JA394 (Revised Guidance 131). CMS will “automatically grant such

termination requests upon receipt,” and the termination would be effective

30 days later, consistent with the statutory requirement for a 30-day exit

period. JA384 (Revised Guidance 121). Plaintiff has not availed itself of

this opportunity, but it had (and continues to have) that option.4

      2. Plaintiff’s First Amendment claims also fail for the independent

reason that the Negotiation Program regulates only non-expressive

conduct, not constitutionally protected speech.

      Although the constitutionally protected “freedom of expression”

extends beyond the “the spoken or written word,” Texas v. Johnson, 491 U.S.

397, 404, 406 (1989), the Supreme Court has “rejected the view that ‘conduct

can be labeled “speech” whenever the person engaging in the conduct




      4 Manufacturers may still withdraw before any negotiated prices first

take effect (on January 1, 2026), by notifying CMS at least 30 days in
advance.
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intends thereby to express an idea,’” Rumsfeld v. Forum for Acad. &

Institutional Rights, Inc. (FAIR), 547 U.S. 47, 65-66 (2006) (quoting United

States v. O’Brien, 391 U.S. 367, 376 (1968)). First Amendment protections for

conduct are instead limited to those actions that are “inherently

expressive.” Id. at 66. “It is possible to find some kernel of expression in

almost every activity a person undertakes—for example, walking down the

street or meeting one’s friends at a shopping mall—but such a kernel is not

sufficient to bring the activity within the protection of the First

Amendment.” City of Dallas v. Stanglin, 490 U.S. 19, 25 (1989).

      Consistent with this principle, it is well established that “the First

Amendment does not prevent restrictions directed at commerce or conduct

from imposing incidental burdens on speech.” Sorrell v. IMS Health Inc.,

564 U.S. 552, 567 (2011). A “typical price regulation” is one such example.

Expressions Hair Design v. Schneiderman, 581 U.S. 37, 47 (2017). Such a

“law—by determining the amount charged—would indirectly dictate the

content” of speech, but the price regulation poses no First Amendment

problem because any “effect on speech would be only incidental to its

primary effect on conduct.” Id.; Nicopure Labs, LLC v. Food & Drug Admin.,



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944 F.3d 267, 292 (D.C. Cir. 2019) (reiterating that “ordinary price

regulation does not implicate constitutionally protected speech”).

       This principle holds true when commercial conduct is carried out

through written contracts. “[I]t has never been deemed an abridgment of

freedom of speech” to regulate conduct “merely because the conduct was

in part initiated, evidenced, or carried out by means of language, either

spoken, written, or printed.” FAIR, 547 U.S. at 62 (quoting Giboney v.

Empire Storage & Ice Co., 336 U.S. 490, 502 (1949)); see also Lowe v. SEC, 472

U.S. 181, 232 (1985) (White, J., concurring in the result) (“[O]ffer and

acceptance are communications incidental to the regulable transaction

called a contract . . . .”).

       The Negotiation Program contracts regulate only non-expressive,

commercial conduct—“the amount that a [manufacturer] c[an] collect”

when selling drugs to Medicare, Expressions Hair Design, 581 U.S. at 47—

and any effects on speech are “plainly incidental.” FAIR, 547 U.S. at 62. As

the district court explained, the Negotiation Program exists to “determine

the price manufacturers may charge for those specific drugs they choose to

sell to Medicare.” JA6 (quoting Bristol Myers, 2024 WL 1855054, at *11).

And plaintiff’s signature on the agreement merely memorializes its
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decision to participate in the Negotiation Program as well as its

understanding of the maximum price Medicare will pay for the selected

drug. These are among the standard actions often memorialized in

commercial contracts. Indeed, healthcare providers and other entities

regularly execute similar agreements with the government to memorialize

their acceptance of the terms of participation across a range of federal

healthcare programs. See, e.g., 42 U.S.C. §§ 1395cc, 1396r-8(b), (c), 1395w-

102(b)(1); see also CMS, Form CMS-460, Medicare Participating Physician or

Supplier Agreement, https://perma.cc/WG64-ZNPL.

      The agreements’ use of statutory terms of art defined in the IRA is

consistent with the goal of ensuring a shared understanding of the

program terms and the parties’ obligations by reference to the statute. The

use of such statutory terms promotes consistency and clarity. For example,

the IRA defines the term “maximum fair price” as “the price negotiated

pursuant to section 1320f–3 of this title, and updated pursuant to section

1320f–4(b) of this title, as applicable, for such drug and year.” 42 U.S.C.

§ 1320f(c)(3). And “[w]hen ‘maximum fair price’ is used in the agreements,

its meaning reflects its statutorily defined definition.” Bristol Myers, 2024

WL 1855054, at *11; see Meese v. Keene, 481 U.S. 465, 485 (1987) (construing
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statutory terms as defined by Congress, “not as it might be read by a

layman”). These terms of art accurately describe the operation of the

program and do not convey or require plaintiff to endorse any view

regarding the value of its drugs. Cf. Milavetz, Gallop & Milavetz, P.A. v.

United States, 559 U.S. 229, 251 (2010) (holding that use of the term “debt

relief agency” was necessarily accurate because it was a statutory term of

art that defined the scope of a statutory requirement).5

      There is no merit to plaintiff’s contention that the agreements operate

as a means of compelling manufacturers to express a view about the value

of their drugs. Signing an agreement to negotiate “is simply not the same

as forcing a student to pledge allegiance, or forcing a Jehovah’s Witness to

display [a motto on his license plate], and it trivializes the freedom

protected in Barnette and Wooley to suggest that it is.” FAIR, 547 U.S. at 61-

62.




      5 Congress’s use of the term “maximum fair price,” moreover, is in

keeping with longstanding regulatory requirements that contracting prices
be determined to be “fair,” and these requirements have never been
thought to raise First Amendment concerns. See United States v. General
Dynamics Corp., 19 F.3d 770, 771 (2d Cir. 1994); Air Borealis Ltd. P’ship v.
United States, 167 Fed. Cl. 370, 389 (2023); Harvey Radio Labs., Inc. v. United
States, 115 F. Supp. 444, 445 (Ct. Cl. 1953).
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      Were there any doubt on this score, it would be resolved by the text

of the agreement itself. The agreement states explicitly that, “[i]n signing

this Agreement, the Manufacturer does not make any statement regarding

or endorsement of CMS’ views, and makes no representation or promise

beyond its intention to comply with its obligations under the terms of this

Agreement with respect to the Selected Drug.” JA261. And it explains that

the use “of the term ‘maximum fair price’ and other statutory terms

throughout th[e] Agreement reflects the parties’ intention that such terms

be given the meaning specified in the statute and does not reflect any

party’s views regarding the colloquial meaning of those terms.” JA261.

The agreement cannot reasonably be read to convey plaintiff’s

endorsement of a particular message or its view about the value of its

drugs.

      3. As a final recourse, plaintiff briefly invokes the unconstitutional

conditions doctrine, Br. 43, 52-53, which provides that the government may

not require a person to give up a constitutional right in order to receive an

unrelated benefit. See Rust v. Sullivan, 500 U.S. 173, 196-98 (1991). But even

assuming the doctrine applies here, plaintiff’s argument fails on its own

terms.
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      As the Supreme Court explained in Rust, the government may

condition a beneficiary’s receipt of federal funds on compliance with

program-specific regulations without violating the unconstitutional

conditions doctrine, so long as the conditions are relevant to the program’s

purpose and “leave the grantee unfettered in its other activities.” 500 U.S.

at 196; see id. at 197 (“[O]ur ‘unconstitutional conditions’ cases involve

situations in which the Government has placed a condition on the recipient

of the subsidy rather than on a particular program or service, thus

effectively prohibiting the recipient from engaging in the protected conduct

outside the scope of the federally funded program.”). This jurisprudence

has consistently distinguished between provisions that impose external

conditions on the recipient of a government benefit, on the one hand, and

provisions that set the terms of and define the scope of government

programs, on the other. See id. at 197.

      In Rust, the Court upheld regulations that prohibited the use of

federal funds for abortion counseling, emphasizing that the conditions

were directly connected to the purpose of the funding, and that they did

not prevent recipients from engaging in protected speech through affiliates

funded by non-federal sources. See 500 U.S. at 196-98. Conversely, in
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Agency for International Development v. Alliance for Open Society International,

Inc., 570 U.S. 205 (2013), the Court struck down a condition that required

non-governmental organizations receiving federal HIV/AIDS funding to

adopt a policy announcing their opposition to prostitution and sex

trafficking. This condition violated the unconstitutional conditions

doctrine because it forced organizations to adopt a viewpoint well outside

the scope of the funded program.

      The IRA does not set an external “condition” on eligibility to sell

drugs through Medicare; it permissibly sets the commercial terms of the

government’s offer to pay for drugs. The government has a substantial

interest in curbing the rising costs of public spending on prescription

drugs, and the establishment of the Negotiation Program furthers that

interest. See Lyng v. International Union, United Auto., Aerospace & Agric.

Implement Workers of Am., 485 U.S. 360, 373 (1988) (describing the

government’s legitimate interest in “protecting the fiscal integrity of

Government programs, and of the Government as a whole”). The terms

that plaintiff challenges—agreeing to participate in price negotiations,

signing contracts reflecting agreed-upon prices, and ultimately selling

drugs to Medicare at such prices—are integral to the functioning of this
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drug-purchasing program as structured by Congress, and they do not

compel plaintiff to surrender any rights beyond the scope of the

government’s spending on prescription drugs.

                               CONCLUSION

     For the foregoing reasons, the judgment of the district court should

be affirmed.

                                        Respectfully submitted,

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     
         The Acting Assistant Attorney General is recused from this case.
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                       COMBINED CERTIFICATIONS

      1.    Government counsel are not required to be members of the bar

of this Court.

      2.    This brief complies with the type-volume limit of Federal Rule

of Appellate Procedure 32(a)(7)(B)(i) because it contains 12,951 words. This

brief also complies with the typeface and type-style requirements of Rule

32(a)(5)-(6) because it uses Book Antiqua 14-point font, a proportionally

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      3.    On February 19, 2025, I electronically filed the foregoing brief

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